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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

          Plaintiff,

v.                                                            Case No. 14-40005-03-DDC

MICHELLE REULET (03),

          Defendant.


                                    MEMORANDUM AND ORDER

          This matter comes before the court on defendant Michelle Reulet’s motions to dismiss

certain charges in the Indictment.1 Ms. Reulet moves to dismiss counts 1, 2, and 4–16 of the

Indictment, and the forfeiture allegation (Doc. 867). She alleges that the alleged controlled

substance analogues that form the basis for these charges are no longer listed as controlled

substance analogues, but instead, now are listed as schedule I controlled substances. Ms. Reulet

also moves to dismiss counts 1, 2, and 4–16 of the Indictment as unconstitutionally vague (Doc.

868). Defendants Craig Broombaugh and Terrie Adams join both motions (Docs. 871, 872).

The government has responded to both motions. Docs. 888, 891. For reasons explained below,

the court denies both motions.

     I.      Motion to Dismiss Counts 1, 2, and 4–16 and the Forfeiture Allegation

          Ms. Reulet seeks to dismiss Count 1 (conspiracy to possess with intent to distribute and

distribute controlled substance analogues), Count 2 (conspiracy to commit mail fraud based on

shipments of misbranded drugs), Counts 4–16 (money laundering based on sales and purchases

of the alleged analogues), and the forfeiture allegations.

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  The operative indictment is the Second Superseding Indictment. Doc. 333. But for simplicity, this Order refers to
it as the Indictment.

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        In its Response, the government contends that Ms. Reulet’s argument applies only to

Count 1, because the allegations in Counts 2, and 4–16 do not depend on a conviction under

Count 1. And, it contends, a conviction on Count 1, 2, or 4–16 will support forfeiture. But the

court does not need to determine the scope of Ms. Reulet’s argument to deny her motion because

the court is not persuaded by any of Ms. Reulet’s arguments.

        Ms. Reulet relies on United States v. Chambers, 291 U.S. 217 (1934) to assert that the

government can no longer prosecute her under the Controlled Substance Analogue Act (the

“Analogue Act”) because, since her indictment, Congress has added the analogues that formed

the basis of the charges against her to the schedules regulated by the Controlled Substances Act.

To put it succinctly, the substances are controlled substances—and not controlled substance

analogues. In Chambers, the Supreme Court affirmed dismissal of the charges against two

defendants who were indicted for violating the National Prohibition Act. Chambers, 291 U.S.

221–23. After their indictment, the Twenty First Amendment was ratified, and the National

Prohibition Act immediately became inoperative. Id. The Supreme Court ruled that in a case

where “a statute is repealed or rendered inoperative, no further proceedings can be had to enforce

it in pending prosecutions unless competent authority has kept the statute alive for that purpose.”

Id. at 223.

        But this case is different than Chambers. Congress has not repealed the Analogue Act. It

remains in full effect. The only change since Ms. Reulet’s indictment is that the alleged

analogues that form the basis for the charges against her are now listed as schedule I controlled

substances under the Controlled Substances Act. But, from a practical standpoint, this shift

changed nothing. Indeed, 21 U.S.C. § 813 states: “A controlled substance analogue shall, to the




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extent intended for human consumption, be treated, for the purposes of any Federal law as a

controlled substance in schedule I.”

       Ms. Reulet urges the court to examine whether the “plain import” or “fair implication” of

scheduling the alleged analogues extinguishes liabilities under the Analogue Act. Doc. 867 at 9.

Ms. Reulet asserts that Congress, by scheduling a substance, knew the substance could no longer

be considered a controlled substance analogue. And, Ms. Reulet asserts that the necessary

implications from Congress’s scheduling actions were that courts should dismiss charges based

on those substances as analogues. But the outcome Ms. Reulet advocates would undermine the

purpose of the Analogue Act entirely. As the Eighth Circuit explained in United States v.

McKinney, “because manufacturers of illegal drugs have become adept at tinkering with the

molecular structure of controlled substances while retaining the effects that those substances

produce, the analogue statute is aimed at prohibiting innovative drugs before they are specifically

listed in the schedules as controlled substances.” 79 F.3d 105, 107 (1996) vacated on other

grounds by McKinney v. United States, 117 S.Ct. 1816 (1997). And, “[u]nder that statute, a drug

becomes a controlled substance if it has a chemical structure substantially similar to that of a

controlled substance, and either has a substantially similar effect on the user’s central nervous

system, or a relevant someone represents that it has or intends it to have such an effect.” Id. at

108. Given the Analogue Act’s purpose, little support exists for any argument that the “fair

implication” from scheduling a substance that was previously governed by the Analogue Act is

that liability for charges under the Analogue Act is extinguished.

       When Congress schedules a drug that previously qualified as an analogue, it neither

repeals the Analogue Act nor renders it inoperative for those analogue drugs. And, because a

controlled substance analogue is treated as a controlled substance, scheduling does not change



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the practical effect of the charges against Ms. Reulet. The government still bears the burden to

prove that defendants knew they possessed one of two things: (A) a substance that both was

substantially similar in chemical structure to a controlled substance and had, or was represented

or intended to have, a stimulant, depressant, or hallucinogenic effect on the central nervous

system substantially similar to a controlled substance; or (B) a substance that was controlled by

the Controlled Substances Act (“CSA”) or Analogue Act. The court thus denies Ms. Reulet’s

Motion.

   II.      Motion to Dismiss Counts 1, 2, and 4–16 as Unconstitutionally Vague

         Ms. Reulet also moves to dismiss Counts 1, 2, and 4–16 as unconstitutionally vague.

This is her second attempt to dismiss her charges under the vagueness doctrine. The court

denied defendants’ “as applied” vagueness challenge two years ago because defendants did not

demonstrate that the Analogue Act is unconstitutionally vague as applied to the specific alleged

analogues at issue in the case. Doc. 281 at 4. But, Ms. Reulet asserts that the law has evolved

since the court’s decision.

         Ms. Reulet advances three principal arguments, and her co-defendants join these theories.

First, she asserts that the Analogue Act is ambiguous in its application of 21 U.S.C. §

802(32)(A)’s provisions. Second, she contends that the Act lacks scheduling procedures,

depriving the ordinary person of fair notice of what substances are prohibited. And third, she

asserts that the phrase “substantially similar” does not establish an ascertainable standard of

guilt, thus inviting arbitrary and discriminatory enforcement.

         The government asserts that Ms. Reulet’s arguments apply only to Count 1. But, again,

the court does not need to determine the scope of Ms. Reulet’s arguments to decide her motion.




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       A. Legal Standard

       The void-for-vagueness doctrine requires that a criminal statute define the offense (1)

with sufficient definiteness that ordinary people can understand what conduct is prohibited and

(2) in a manner that does not encourage arbitrary and discriminatory enforcement. United States

v. Gaudreau, 860 F.2d 357, 359 (10th Cir. 1988).

       B. Analysis

               1. 21 U.S.C. § 802(32)(A)

       Ms. Reulet’s first argument rests on the statutory definition of a controlled substance

analogue in the Analogue Act. Title 21 U.S.C. §802(32)(A) defines the term “controlled

substance analogue” as a substance “the chemical structure of which is substantially similar to

the chemical structure of” a schedule I or II controlled substance. Ms. Reulet asserts that the

phrase “substantially similar” is unconstitutionally vague, and she asserts that the Supreme

Court’s decision in Johnson v. United States, 135 S. Ct. 2551 (2015), and the Tenth Circuit’s

decision in United States v. Makkar, 810 F.3d 1139 (10th Cir. 2015) invite the vagueness

challenge she presents here.

       In Johnson, the Supreme Court struck down an increased sentence under the residual

clause of the Armed Career Criminal Act (“ACCA”) because it was unconstitutionally vague.

The ACCA imposes an increased punishment on a defendant with three prior convictions for a

“violent felony.” Id. at 2554. The ACCA defined “violent felony” to include any felony that

“involves conduct that presents a serious potential risk of physical injury to another.” Id. The

Supreme Court held that the residual clause of the ACCA was unconstitutionally vague for two

reasons. First, because the residual clause left open “grave uncertainty about how to estimate the



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risk posed by a crime” by tying “the judicial assessment of risk to a judicially imagined ‘ordinary

case’ of a crime, not to real-world facts or statutory elements.” Id. Second, because the residual

clause left “uncertainty about how much risk it takes for a crime to qualify as a violent felony.”

Id. at 2558.

       Ms. Reulet’s argument also relies on dictum from a Tenth Circuit decision issued four

months later in United States v. Makkar. In that case, our Circuit identified some similarities

between the ACCA’s residual clause struck down in Johnson and the Analogue Act:

       The resemblance between the Analogue Act and the residual clause of the ACCA
       might raise some questions in your mind. After all, the Supreme Court in
       Johnson v. United States, 135 S.Ct. 2551 (2015), recently declared the ACCA’s
       residual clause too vague to permit its constitutional application. But so far at
       least the Court hasn’t reached a similar judgment about the Analogue Act . . . It’s
       an open question, after all, what exactly it means for chemicals to have a
       “substantially similar” chemical structure—or effect. And whether terms like
       those will admit of fair application and afford citizens fair notice, or whether we
       will find ourselves wading incrementally, in one as-applied challenge after
       another, deeper into an analytical swamp much as we did with the ACCA’s
       residual clause litigation.

Makkar, 810 F.3d at 1143.

       Ms. Reulet’s argument relies on the Tenth Circuit’s analogy between the ACCA’s

residual clause and the Controlled Substance Analogue Act. Ms. Reulet asserts that the

Analogue Act is, perhaps, worse than the ACCA’s residual clause because it invites enforcement

based on guesswork and intuition. Even chemistry experts, she argues, do not agree on a

definition of “substantially similar” for chemical structures.

       Several Circuits have reached this issue. And all that have considered the argument have

rejected this argument.

        In United States v. McKinney, the defendant argued that the Analogue Act “is
       unconstitutionally vague because there is a lack of scientific consensus” that the
       alleged analogue and the controlled substance are substantially similar. 79 F.3d 105,
       108 (8th Cir. 1996), vacated on other grounds, 520 U.S. 1226 (1997). The Eighth
       Circuit disagreed, holding “a reasonable layperson could, for example, have

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       examined a chemical chart and intelligently decided for himself or herself, by
       comparing their chemical diagrams, whether the chemical structures of two
       substances were substantially similar.” Id.; see also United States v. Hofstatter, 8
       F.3d 316, 321-22 (6th Cir. 1993) (holding Analogue Act was “sufficiently precise to
       enable an ordinary person in the position of [the defendant]” to know that this
       analogue was substantially similar to controlled substance); United States v. Turcotte,
       405 F.3d 515, 532-33 (7th Cir. 2005) (evidence sufficient to put an “ordinary person”
       on notice that charged substance is controlled substance analogue); Klecker, 348 F.3d
       at 72 (4th Cir. 2003) (“Although there are important differences between Foxy and
       DET, the similarities in their structures would put a reasonable person on notice that
       Foxy might be regarded as a DET analogue . . . .”); United States v. Fisher, 289 F.3d
       1329, 1339 (11th Cir. 2002) (“People of ordinary intelligence would easily be able to
       determine that” the alleged analogue “would meet the definition of a controlled
       substance analogue.”).

       Also, in Johnson, the Supreme Court specifically distinguished between the type of

ambiguity in 21 U.S.C. § 802(32)(A) and the “serious potential risk” standard used by the

ACCA’s residual clause. The residual clause of the ACCA required a court to assess whether a

crime qualified as a violent felony “‘in terms of how the law defines the offense and not in terms

of how an individual offender might have committed it on a particular occasion.’” Johnson, 135

S. Ct. at 2557 (quoting Begay v. United States, 553 U.S. 137, 141 (2008)). The Court noted that

“[i]t is one thing to apply an imprecise ‘serious potential risk’ standard to real-world facts; it is

quite another to apply it to a judge-imagined abstraction.” Id.

       The crimes charged in this case do not require the factfinder to apply an imprecise

standard to an abstraction. Rather, the jury will apply the Analogue Act’s statutory factors to the

“real-world” facts of the evidence presented in this case. Ms. Reulet’s argument that the

Analogue Act is unconstitutionally vague is not a sound one.

               2. Lack of Fair Notice

       Ms. Reulet’s second argument focuses on whether the Analogue Act provides sufficient

notice for an ordinary person to determine if a particular substance is a controlled substance

analogue. Ms. Reulet also asserts that, unlike controlled substances, controlled substance


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analogues are not listed publically, so ordinary persons have no way to learn whether a particular

substance is a controlled substance analogue. This argument is unpersuasive. As the Eight

Circuit explained in McKinney, “the analogue statute is aimed at prohibiting innovative drugs

before they are specifically listed in the schedules as controlled substances,” because

“manufacturers of illegal drugs have become adept at tinkering with the molecular structure of

controlled substances while retaining the effects that those substances produce.” 79 F.3d 105,

107 (1996). And, as a district court noted, a “requirement that the Government identify and label

each analogue individually before a prosecution could be pursued would essentially eviscerate

the analogue statute, and such an argument has been repeatedly rejected by federal courts,

including the Eighth Circuit.” United States v. Hawkins, No. 2:13-cr-04049-BCW-2, 2016 WL

1390005 (W.D.Mo., Apr. 7, 2016). The court also rejects this argument here.

               3. Risk of Arbitrary and Discriminatory Enforcement

       Ms. Reulet’s final argument focuses on whether the “substantially similar” language

provides sufficient minimal standards to guide law enforcement officers. Ms. Reulet asserts that

the statute is impermissibly vague because it fails to restrain official discretion adequately and

thus encourages “arbitrary and discriminatory enforcement.” Doc. 868 at 16 (citing City of

Chicago v. Morales, 527 U.S. 41, 56 (1999)).

       This argument relies on Kolender v. Lawson, 461 U.S. 352, 362 (1983). In Kolender, the

Supreme Court nullified as unconstitutionally vague a statute that required a Terry stop suspect

provide “credible and reliable” identification. Kolender, 461 U.S. at 362. Specifically, the court

found that the “credible and reliable” identification requirement “necessarily entrust[s]

lawmaking to the moment-to-moment judgment of the policeman on his beat.” Id. at 360

(quoting Smith v. Goguen, 415 U.S. 566, 575 (1974)). According to the Court, this furnished a



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“convenient tool for ‘harsh and discriminatory enforcement by local prosecuting officials.’” Id.

(quoting Papachristou v. City of Jacksonville, 405 U.S. 156, 847–48 (1972)). And Ms. Reulet

asserts that the term “substantially similar” invites the same kind of arbitrary and discriminatory

enforcement under the Analogue Act that the Court condemned in Kolender. According to Ms.

Reulet, without a DEA protocol prescribing the process, method, or criterion that its specialists

use to determine whether a substance is a controlled substance analogue, or a list of substances

deemed by the DEA to be controlled substance analogues, determining whether a substance is a

controlled substance analogue is left to “the whim of any DEA agent.” Doc. 868 at 18.

        Ms. Reulet’s third argument imitates her second one. This time, Ms. Reulet asserts that

without a published list of criteria for determining whether a substance is a controlled substance

analogue, or a list of analogues themselves, no ordinary person or law enforcement officer can

determine whether a substance is “substantially similar” to a scheduled I or II controlled

substance. But again, a published list of controlled substance analogues would undermine the

very purpose of the Analogue Act, which was “aimed at prohibiting [distribution of] innovative

drugs before they are specifically listed in the schedules as controlled substances.” McKinney,

79 F.3d 107. And, as the Eighth Circuit found in McKinney, “a reasonable layperson could . . .

have examined a chemical chart and intelligently decided for himself or herself, by comparing

their chemical diagrams, whether the chemical structure of two substances were substantially

similar.” Id. at 108. The court is not persuaded that the same “convenient tool for ‘harsh and

discriminatory enforcement by local prosecuting officials’” at issue in Kolender is at issue in this

case.

        Ms. Reulet also asserts that the government is taking a novel interpretation of the

Analogue Act by using more than one controlled substance as a “substantially similar”



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comparator for each prong of the Analogue Act. But, the court does not find any basis for Ms.

Reulet’s argument. The case Ms. Reulet relies on for her argument discusses the three pronged

controlled substance analogue definition found in 21 U.S.C. § 802(32)(A). See United States v.

Forbes, 806 F. Supp. 232, 235 (D. Colo. 1992). And, while the case held that § 802(32)(A)

should be read as a two-pronged definition (with prongs two and three modified by prong one),

the court does not read the Colorado case to suggest that the government may use only one

substance as a comparator for all three prongs. The court thus rejects this argument as a reason

to find that the Analogue Act is unconstitutionally vague.

          IT IS THEREFORE ORDERED BY THE COURT THAT defendant’s Motion to

Dismiss Counts 1, 2, and 4–16 of the Indictment and the Forfeiture Allegation (Doc. 867) is

denied.

          IT IS FURTHER ORDERED BY THE COURT THAT defendant’s Motion to

Dismiss Counts 1, 2, and 4–16 of the Indictment as Unconstitutionally Vague (Doc. 868) is

denied.

          IT IS SO ORDERED.

          Dated this 21st day of December, 2016, at Topeka, Kansas.


                                                     s/ Daniel D. Crabtree
                                                     Daniel D. Crabtree
                                                     United States District Judge




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